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                                               Peak Gold, LLC
                                                                    IN THE UNITED STATES DISTRICT COURT
                                                                          FOR THE DISTRICT OF ALASKA



                                               VILLAGE OF DOT LAKE, a federally              Case No. 3:24-cv-00137-SLG
                                               recognized Indian tribe,

                                                             Plaintiff,

                                                        v.

                                               UNITED STATES ARMY CORPS OF                   [PROPOSED] ORDER ON PEAK
                                               ENGINEERS and LIEUTENANT                      GOLD, LLC’S MOTION TO
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Eric B. Fjelstad / EFjelstad@perkinscoie.com




                                               GENERAL SCOTT A. SPELLMON, in                 INTERVENE UNDER FED. R. CIV. P.
                                               his official capacity as Chief of Engineers   24(a) AND (b)
     1029 West Third Avenue, Suite 300
       Anchorage, Alaska 99501-1981




                                               and Commanding General, United States
                                               Army Corps of Engineers,
             PERKINS COIE LLP




                                                             Defendant.




                                                [PROPOSED] ORDER ON PEAK GOLD, LLC’S MOT. TO INTERVENE UNDER FED. R. CIV. P. 24(a)
                                                AND (b)
                                                Village of Dot Lake v. U.S. Army Corps of Eng’rs, et al., No. 3:24-CV-00137-SLG
                                                Page 1 of 3
                                               Case 3:24-cv-00137-SLG Document 8-5 Filed 08/20/24 Page 1 of 3
                                               163531886.1
                                                        Upon motion by Proposed Intervenor-Defendant Peak Gold, LLC, and any

                                               opposition thereto, it is hereby ORDERED:

                                                        Peak Gold LLC’s motion to intervene is granted; and

                                                        Peak Gold LLC shall file its answer or other responsive pleading within seven (7)

                                               days after Federal Defendants file their answer or other responsive pleading.



                                                        SO ORDERED this ___ day of ______________, 2024.



                                                                                                 ______________________________
                                                                                                 Sharon L. Gleason
                                                                                                 United States District Judge
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                                                [PROPOSED] ORDER ON PEAK GOLD, LLC’S MOT. TO INTERVENE UNDER FED. R. CIV. P. 24(a)
                                                AND (b)
                                                Village of Dot Lake v. U.S. Army Corps of Eng’rs, et al., No. 3:24-cv-00137-SLG
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                                               163531886.1
                                                                            CERTIFICATE OF SERVICE

                                                        I hereby certify that on August 20, 2024 I filed a true and correct copy of the

                                               foregoing document with the Clerk of the Court for the United States District Court –

                                               District of Alaska by using the CM/ECF system. Participants in Case No. 3:24-cv-00137

                                               who are registered CM/ECF users will be served by the CM/ECF system.

                                                                                         /s Eric B. Fjelstad
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                                                [PROPOSED] ORDER ON PEAK GOLD, LLC’S MOT. TO INTERVENE UNDER FED. R. CIV. P. 24(a)
                                                AND (b)
                                                Village of Dot Lake v. U.S. Army Corps of Eng’rs, et al., No. 3:24-cv-00137-SLG
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